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                   IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF TEXAS
                            SHERMAN DIVISION

DILIP JANA                                        §
                                                  §
v.                                                §      NO. 4:24-CV-00698-SDJ-BD
                                                  §
WALMART, INC.                                     §


                          MEMORANDUM OPINION AND ORDER

     Defendant Walmart, Inc. ﬁle an opposed motion for entry of an agreed protective order in

Judge Jordan’s preferred format. Dkt. 51; see https://txed.uscourts.gov/?q=judge/judge-sean-

jordan (document available at “Standard Forms” tab). Pro se plaintiﬀ Dilip Jana ﬁled an untimely

response that improperly included a request for relief. Dkt. 58; see Loc. R. CV-7(a), (e). Walmart

ﬁled a reply. Dkt. 59. The response will be struck, and the motion will be denied.

     Under Rule 26(c), a district court “may, for good cause, issue an order to protect a party or

person from annoyance, embarrassment, oppression, or undue burden or expense.” Fed. R. Civ.

P. 26(c)(1). “The movant bears the burden of showing that a protective order is necessary, ʻwhich

contemplates a particular and speciﬁc demonstration of fact as distinguished from stereotyped and

conclusory statements.’” EEOC v. BDO USA, L.L.P., 876 F.3d 690, 698 (5th Cir. 2017) (quoting

In re Terra Int’l, Inc., 134 F.3d 302, 306 (5th Cir. 1998)). The district court has broad discretion in

determining whether to grant a motion for a protective order because it is “in the best position to

weigh fairly the competing needs and interests of parties aﬀected by discovery.” Seattle Times Co.

v. Rhinehart, 467 U.S. 20, 36 (1984); see also Harris v. Amoco Prod. Co., 768 F.2d 669, 684 (5th Cir.

1985) (noting that “[t]he federal rules do not themselves limit the use of discovered documents or

information” but that Rule 26(c) “aﬀords district courts the ability to impose limits” and that “the

district court can exercise its sound discretion to restrict what materials are obtainable, how they

can be obtained, and what use can be made of them once obtained” so long as “the party from

whom discovery is sought shows ʻgood cause’”).
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   Attaching a copy of Jana’s discovery requests, Walmart broadly argues in its motion that there

is good cause for a protective order because Jana seeks “conﬁdential communications, non-public

ﬁnancial information, employment records, employee personnel ﬁles, and sensitive commercial

information.” Dkt. 51 at 2. Even though it knew its motion was opposed at the time it was ﬁled, see

Dkt. 51 at 1, Walmart asked the court to enter a form protective order that is expressly premised

on the parties’ agreement. See Dkt. 51-1 at 1 (beginning with the phrase “[t]he parties agree” and

later indicating that “[t]he parties jointly request entry of this Protective Order”).

   The court need not consider Jana’s untimely response to know that the motion cannot properly

be granted. Entry of an agreed protective order upon the parties’ joint request cannot be

accomplished through an opposed motion.

   This order does not prohibit Walmart from seeking a protective order that meets the Rule

26(c)(1) standard and complies with Fifth Circuit precedent. Any such request should be speciﬁc,

and any proposed protective order should comply with the guidelines, including the prohibition of

footnotes, stated at the “Judge-Speciﬁc Information” tab of https://txed.uscourts.gov/?q=judge/

magistrate-judge-bill-davis.

   To the extent Jana believes that entry of a protective order would allow Walmart to withhold

documents properly requested in discovery, he is mistaken. When the Rule 26(c)(1) standard has

been satisﬁed, a protective order may properly prohibit dissemination of sensitive information to

people not involved in the lawsuit without infringing on the right of any party to the lawsuit—here,

Jana and Walmart—to review documents exchanged in discovery that are relevant to a party’s

claim or defense.

   . is ORDERED that Jana’s response, Dkt. 58, is STRUCK and that Walmart’s motion,
   It

Dkt. 51, is DENIED.

   So ORDERED and SIGNED this 1st day of May, 2025.



                                       ________________________________________
                                       Bill Davis
                                       United States Magistrate Judge
                                                  2
